      Case 21-12476-amc             Doc 233     Filed 05/11/22 Entered 05/11/22 15:21:44          Desc Main
                                               Document      Page 1 of 1
                                        UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF PENNSYLVANIA
                                             ROBERT N.C. NIX BUILDING
                                               900 MARKET STREET
                                                    SUITE 400
                                             PHILADELPHIA 19107-4299
Timothy B. McGrath                                                                                         Telephone
Clerk                                                                                                  (215) 408-2800
                                                     May 10, 2022

            Re: Kenneth J. Taggart
                     Bankruptcy No.: 21-12476
                     Civil Action No.

Dear Kate Barkman, Clerk of Court:

       We herewith transmit the following document(s) filed in the above matter(s), together with a copy of the
docket entries:

       (x) Certificate of appeal from order entered by the Honorable .
            Notice of appeal filing fee (x)paid ()not paid

       () Designation of Record on Appeal Filed
       () Designation of Record on Appeal Not Filed

       () Supplemental certificate of appeal.

       () Motion for leave to appeal filed .
            () Answer to motion filed .

       () Proposed findings of fact and conclusions of law entered by the Honorable .
            () Objections filed .

       () Report and recommendation entered by the Honorable .

            () Objections filed .

       () Original record transferred to the District Court pursuant to the order of the Honorable .

       (x) Other: Debtor filed Motion to Reinstate the Case, hearing date June 22, 2022.

       Kindly acknowledge receipt on the copy of the letter provided.

                                                 For the Court

                                                 Timothy B. McGrath
                                                 Clerk

                                                 By:       Y.Ruiz
                                                 Deputy Clerk


Received Above material or record tile this      WK   
                                                         day of 0D\              , 20    .

Civil Action No.   FY                  Signature:   V6WHYH7RPDV
Miscellaneous No.                                Date:   

Assigned to Judge -RKQ0<RXQJH                                                                       BFL5.frm(rev 11/8/17)
